Case: 1:17-md-02804-DAP Doc #: 2251-87 Filed: 08/13/19 1 of 129. PageID #: 351967




                     EXHIBIT 87
Case: 1:17-md-02804-DAP Doc #: 2251-87 Filed: 08/13/19 2 of 129. PageID #: 351968
Case: 1:17-md-02804-DAP Doc #: 2251-87 Filed: 08/13/19 3 of 129. PageID #: 351969
Case: 1:17-md-02804-DAP Doc #: 2251-87 Filed: 08/13/19 4 of 129. PageID #: 351970
Case: 1:17-md-02804-DAP Doc #: 2251-87 Filed: 08/13/19 5 of 129. PageID #: 351971
Case: 1:17-md-02804-DAP Doc #: 2251-87 Filed: 08/13/19 6 of 129. PageID #: 351972
Case: 1:17-md-02804-DAP Doc #: 2251-87 Filed: 08/13/19 7 of 129. PageID #: 351973
Case: 1:17-md-02804-DAP Doc #: 2251-87 Filed: 08/13/19 8 of 129. PageID #: 351974
Case: 1:17-md-02804-DAP Doc #: 2251-87 Filed: 08/13/19 9 of 129. PageID #: 351975
Case: 1:17-md-02804-DAP Doc #: 2251-87 Filed: 08/13/19 10 of 129. PageID #: 351976
Case: 1:17-md-02804-DAP Doc #: 2251-87 Filed: 08/13/19 11 of 129. PageID #: 351977
Case: 1:17-md-02804-DAP Doc #: 2251-87 Filed: 08/13/19 12 of 129. PageID #: 351978
Case: 1:17-md-02804-DAP Doc #: 2251-87 Filed: 08/13/19 13 of 129. PageID #: 351979
         Case: 1:17-md-02804-DAP Doc #: 2251-87 Filed: 08/13/19 14 of 129. PageID #: 351980



         Treating Breakthrough Pain

                                    Over Medication
                                                                           Current Breakthrough
                                                                           Medication
Around-the-Clock
Medication




                                                      ent   P a in
                                              Persist

                                        T i me
        Case: 1:17-md-02804-DAP Doc #: 2251-87 Filed: 08/13/19 15 of 129. PageID #: 351981



              Optimal Agent to Treat
               Breakthrough Pain
•   Short-acting                                   • Strong enough to
•   Easily administered                              relieve severe pain
•   Rapidly absorbed                               • Appropriate for
•   Readily titrated                                 frequent use
•   Should not overly                              • Oral route preferred
    sedate or cause
    adverse effects
       Case: 1:17-md-02804-DAP Doc #: 2251-87 Filed: 08/13/19 16 of 129. PageID #: 351982

       Common Errors in Treating
          Breakthrough Pain
• Failure to recognize end-of-dose pain
• Treating BT with inadequate doses of analgesic
• Administering compound analgesics for BT
• Use of long-acting analgesics to treat BT
• Increasing basal analgesic doses instead of
  treating BT
• Inappropriate route of administration of analgesic
       Case: 1:17-md-02804-DAP Doc #: 2251-87 Filed: 08/13/19 17 of 129. PageID #: 351983

            Prescription Drug Abuse
• Prescription drug abuse is a serious US public health
  problem
• 2002 National Survey of Drug Use and Health in
  ages 18-25
  – Prevalence of lifetime, non-medical pain reliever use
  – 6.8% (1992) to 19.4% (2001) to 22.1% (2002)
• 2003 National Institute Drug Abuse survey of 12th
  graders
  – non-medical use of medications
  – 10.5% used Vicodin
  – 4.5% used OxyContin
                       True or False?
         Case: 1:17-md-02804-DAP Doc #: 2251-87 Filed: 08/13/19 18 of 129. PageID #: 351984




• Any patient who is given narcotics for pain relief is at
  significant risk for addiction.
• When narcotics are used to control chronic pain,
  addiction is a common outcome.
• More than 5% of patients who receive narcotics for
  pain subsequently become addicts.
• Chronic pain of unknown cause should not be treated
  with narcotics even if this is the only way to obtain
  pain relief.
• Using narcotics to relieve pain of benign conditions is
  ill-advised.
  Case: 1:17-md-02804-DAP Doc #: 2251-87 Filed: 08/13/19 19 of 129. PageID #: 351985




Fear Inhibits Opioid Prescribing


           FEAR                                                     Opioid
                                                                   Prescribing
       Dependence
        Addiction
        Diversion                                                 Declines with
         Abuse                                                     increasing
                                                                     FEAR
       Scrutiny from
          peers &
         agencies
        Case: 1:17-md-02804-DAP Doc #: 2251-87 Filed: 08/13/19 20 of 129. PageID #: 351986



  Perspective on Regulatory Concerns
• Fear of sanctions may lead to undertreatment
  of pain
• No federal laws prohibit appropriate opioid
  use for analgesia
• Recently published model guidelines may
  help reverse trends
• Recent joint statement issued by DEA and 21
  health care organizations
            Case: 1:17-md-02804-DAP Doc #: 2251-87 Filed: 08/13/19 21 of 129. PageID #: 351987



    Joint Statement: DEA and Health
           Care Organizations
• Undertreatment of pain is a serious problem
• Effective pain management is an integral and important
  aspect of quality medical care
• Pain should be treated aggressively
• For many patients, opioids are the most effective treatment
   – Using established management guidelines
   – Often the only option that provides significant relief
• The balance comes from also recognizing the need to address
  abuse and diversion of opioids

 Drug Enforcement Administration, DEA Press release, 10/23/01.
       Case: 1:17-md-02804-DAP Doc #: 2251-87 Filed: 08/13/19 22 of 129. PageID #: 351988


                             Drug Abuse
• Defining Drug Abuse
  – Intentional overuse in cases of celebration,
    anxiety, despair, self-medication, or
    ignorance
  – The use of medications outside the scope of
    usual medical practice
  – The use of illicit substances
• Abusers may or may not be addicts
• Abusers can often stop use when harmed
                                                Based on the Diagnostic and Statistical Manual-IV (DSM-IV)
           Case: 1:17-md-02804-DAP Doc #: 2251-87 Filed: 08/13/19 23 of 129. PageID #: 351989



                Addiction
        Consensus Medical Definition

“A primary, chronic neurobiological disease
with genetic, psychosocial and environmental
factors influencing its development and
manifestation”

AAPM, APS, ASAM. Definitions Related to the Use of Opioids for the Treatment of
Pain. [consensus document] 2001.
   Case: 1:17-md-02804-DAP Doc #: 2251-87 Filed: 08/13/19 24 of 129. PageID #: 351990



               Addictive Behaviors
Addictive behaviors include one of the
  following:
• Impaired control over drug use
• Compulsive use
• Continued use despite harm (physical, mental,
 and/or social)
• Craving
    AAPM, APS, ASAM. Definitions Related to the Use of Opioids for the Treatment of Pain. [consensus document] 2001.
      Case: 1:17-md-02804-DAP Doc #: 2251-87 Filed: 08/13/19 25 of 129. PageID #: 351991




    Chronic Use vs. Abuse
Addiction:
• Dysfunctional pattern of opioid use for
  purposes other than alleviating pain
• Loss of control over the use of opioids
• Preoccupation with obtaining opioids
  despite the presence of adequate analgesia
• Iatrogenic addiction is very rare.
           Case: 1:17-md-02804-DAP Doc #: 2251-87 Filed: 08/13/19 26 of 129. PageID #: 351992


     Consequences of Addictive Use of
              Medications
• Persistent sedation or intoxication due to
  overuse
• Increasing functional impairment and other
  medical complications
• Psychological manifestations such as
  irritability, apathy, anxiety and/or depression

AAPM, APS, ASAM. Definitions Related to the Use of Opioids for the Treatment of
Pain. [consensus document] 2001.
           Case: 1:17-md-02804-DAP Doc #: 2251-87 Filed: 08/13/19 27 of 129. PageID #: 351993

                           Pseudoaddiction
• Behaviors that may occur when pain is
  inadequately treated (severe, unrelieved pain)
• Patients may become focused on obtaining
  medications (“drug-seeking behavior”)
• Behavior mimics addiction (hoarding)
• Focus is relief of pain
• Behaviors resolve when pain is appropriately
  treated
AAPM, APS, ASAM. Definitions Related to the Use of Opioids for the Treatment of
Pain. [consensus document] 2001.
                 Physical Dependence
       Case: 1:17-md-02804-DAP Doc #: 2251-87 Filed: 08/13/19 28 of 129. PageID #: 351994




• Abstinence syndrome caused by dose reduction,
  abrupt discontinuation or administration of an
  antagonist
• Natural physiologic process
• Abstinence symptoms can often be avoided with
  careful tapering/monitoring for withdrawal
  symptoms
• May exist after few days of regular opioid dosing
  but onset is highly variable
• Does not independently cause or define addiction
• Should be made clear to patient and caregiver
       AAPM, APS, ASAM. Definitions Related to the Use of Opioids for the Treatment of Pain. [consensus document] 2001.
         Case: 1:17-md-02804-DAP Doc #: 2251-87 Filed: 08/13/19 29 of 129. PageID #: 351995

                                     Tolerance
• Escalating dose required to maintain the same effect
• May develop at different rates for different effects
  – Tolerance to sedation and nausea occur relatively rapidly
  – Tolerance to constipation may not occur at all
• Tolerance to analgesia is seldom a clinical problem
  – Tolerance rarely “drives” dose escalation
  – Tolerance does not cause addiction
• “Pseudotolerance”: worsening disease leads to
  increased dose requirement

                          AAPM, APS, ASAM. Definitions Related to the Use of Opioids for the Treatment of Pain. [consensus document] 2001.
         Case: 1:17-md-02804-DAP Doc #: 2251-87 Filed: 08/13/19 30 of 129. PageID #: 351996

                                   Diversion
• Diversion – The willful transfer of a drug from
  legitimate supply (manufacture, distribution, or
  storage in hospitals, pharmacies, physicians’ offices)
  and/or patients for whom the drug has been
  prescribed to unauthorized users and/or for illegal
  sale
• Examples
  – Stolen, altered or forged prescriptions
  – Trading for profit on medication from others
  – Scams
       Case: 1:17-md-02804-DAP Doc #: 2251-87 Filed: 08/13/19 31 of 129. PageID #: 351997


                 Prevalence of Abuse
• Overall prevalence cited in some studies
  may not reflect real life statistics related to
  abuse / addiction
• Clear message is that pain itself is not an
  independent risk factor for abuse of pain
  medications
• The majority of legitimate pain patients do
  not abuse their analgesic medication
          Case: 1:17-md-02804-DAP Doc #: 2251-87 Filed: 08/13/19 32 of 129. PageID #: 351998


              US Population Statistics
Addictive behavior occurs in a significant
  proportion of the population:
• 7.1 % use illicit drugs
  – 1.6% used prescription-type pain relievers non-medically
• 1.4% are dependent on or abuse illicit drugs
• 20.6% abuse alcohol (reported binge drinking)
• 29.5% use tobacco products

       2001 National Household Survey on Drug Abuse. Substance Abuse and Mental Health Services Administration, 2002
       Case: 1:17-md-02804-DAP Doc #: 2251-87 Filed: 08/13/19 33 of 129. PageID #: 351999


                  Opioid Agreements
• Designed to facilitate
  – Informed consent about opioid risks and side effects
  – Patient education
  – Compliance
• Help describe the pain treatment plan
• Noncompliance may aid in diagnosis of addiction
  or substance abuse relapse
• Have the potential to improve therapeutic
  relationship
  – Must be based on mutual trust and honesty
Case: 1:17-md-02804-DAP Doc #: 2251-87 Filed: 08/13/19 34 of 129. PageID #: 352000




 Document the Four “A’s”

      •   Analgesia
      •   Activities of daily living
      •   Adverse events
      •   Aberrant drug taking
Case: 1:17-md-02804-DAP Doc #: 2251-87 Filed: 08/13/19 35 of 129. PageID #: 352001



   Additional Types of
   Cancer-related Pain
    •   Diffuse bone pain
    •   Neuropathic pain
    •   Movement-related pain
    •   Mucositis
      Case: 1:17-md-02804-DAP Doc #: 2251-87 Filed: 08/13/19 36 of 129. PageID #: 352002


            General Principles of
             Pain Management
• Individualize the pain regimen to the patient.
• Discuss pain and its management with the
  patient.
• Encourage the patient to participate.
• Reassure those reluctant to report pain.
• Consider the cost of therapy.
      Case: 1:17-md-02804-DAP Doc #: 2251-87 Filed: 08/13/19 37 of 129. PageID #: 352003



Common Causes of Analgesic Failure
• Overestimating the analgesic efficacy of a
  drug.
• Underestimating the analgesic requirements
  of the patient.
• Prejudice against the use of analgesics that
  may prevent objective therapy.
• Lack of knowledge of analgesic
  pharmacology.
       Case: 1:17-md-02804-DAP Doc #: 2251-87 Filed: 08/13/19 38 of 129. PageID #: 352004



 Common Causes of Analgesic Failure
• Patient non-adherence because of fear of
  addiction.
• Patient not communicating with caregivers
  because of fear of being labeled a drug addict.
• Patient wants to please by not complaining.
• Patient does not know how to or is afraid to
  communicate with caregiver.
  Case: 1:17-md-02804-DAP Doc #: 2251-87 Filed: 08/13/19 39 of 129. PageID #: 352005



WHO Three-Step Pain Ladder
 • Non-opioid
     – ± adjuvant
 • Opioid for mild to moderate pain
     – + non-opioid
     – ± adjuvant
 • Opioid for moderate to severe pain
     – ± non-opioid
     – ± adjuvant
   Case: 1:17-md-02804-DAP Doc #: 2251-87 Filed: 08/13/19 40 of 129. PageID #: 352006




Opioids for Mild–Moderate Pain
    •   Codeine
    •   Oxycodone (Percocet, Percodan)
    •   Meperidine (Demerol)
    •   Propoxyphene (Darvon, Darvocet)
    •   Hydrocodone (Vicodin, Lortab)
    •   Tramadol (Ultram)
    •   Pentazocine (Talwin, Talwin NX)
    Case: 1:17-md-02804-DAP Doc #: 2251-87 Filed: 08/13/19 41 of 129. PageID #: 352007




         Opioids for Severe Pain
•   Morphine
•   Hydromorphone (Dilaudid)
•   Oxycodone (OxyContin)
•   Methadone
•   Levorphanol (Levo-Dromoran)
•   Fentanyl (Duragesic, Actiq)
•   Oxymorphone (Numorphan)
Case: 1:17-md-02804-DAP Doc #: 2251-87 Filed: 08/13/19 42 of 129. PageID #: 352008




      Palliative Therapies
  •   Radiation Therapy
  •   Nerve blocks
  •   Surgery
  •   Antineoplastic Therapy
  •   Psychosocial interventions
  •   Physical modalities
   Case: 1:17-md-02804-DAP Doc #: 2251-87 Filed: 08/13/19 43 of 129. PageID #: 352009




General Types of Medications
   • Nonopioid analgesics
   • Opioid analgesics
       – Long-acting medications
       – Short-acting medications
   • Analgesic adjuvants
Case: 1:17-md-02804-DAP Doc #: 2251-87 Filed: 08/13/19 44 of 129. PageID #: 352010




         Types of Opioids
 • Full agonists
       – Morphine
 • Mixed agonist-antagonists
       – Pentazocine (Talwin)
 • Partial agonists
       – Buprenorphine (Buprenex)
 • Centrally acting
       – Tramadol (Ultram)
          Case: 1:17-md-02804-DAP Doc #: 2251-87 Filed: 08/13/19 45 of 129. PageID #: 352011




                          Full Agonists
•   Morphine                                         • Oxycodone (OxyContin)
•   Codeine                                          • Propoxyphene HCl (Darvon)
•   Fentanyl                                         • Propoxyphene Napsylate
•   Hydromorphone (Dilaudid)                           (Darvon-N)
•   Meperidine (Demerol)                             • Hydrocodone (Vicodin,
•   Methadone                                          Lortab)
•   Levorphanol (Levo-                               • Oxymorphone (Numorphan)
    Dromoran)
      Case: 1:17-md-02804-DAP Doc #: 2251-87 Filed: 08/13/19 46 of 129. PageID #: 352012




                       Mixed Effects
Partial Agonists                                 Agonist/Antagonists
• Buprenorphine                                  • Butorphanol (Stadol,
  (Buprenex)                                       Stadol NS)
• Dezocine (Dalgan)                              • Nalbuphine HCl
                                                   (Nubain)
                                                 • Pentazocine (Talwin,
                                                   Talwin NX)
 Case: 1:17-md-02804-DAP Doc #: 2251-87 Filed: 08/13/19 47 of 129. PageID #: 352013



         Opioid Receptors
• Mu (μ):              70% of total receptor population
   – Analgesia
   – Habituating and withdrawal effects
   – Central analgesia and respiratory depression
• Kappa (κ): 6% of total receptor population
   – Analgesia
• Delta (δ): 24% of total receptor population
   – Analgesia
   – May play a role in euphoria
                 Opioid Allergy
    Case: 1:17-md-02804-DAP Doc #: 2251-87 Filed: 08/13/19 48 of 129. PageID #: 352014




• Can cause pruritic rashes and other true allergic-
  type reactions
• Opioids stimulate histamine release from mast
  cells
• Can cause a local wheal, burning, itching and
  erythema at the site of injection
• Systemic release of histamine can cause
  localized or generalized flushing
• True opioid allergies are infrequent
      Case: 1:17-md-02804-DAP Doc #: 2251-87 Filed: 08/13/19 49 of 129. PageID #: 352015



                   Opioid Allergy
• Phenanthrenes (morphine, codeine,
  hydrocodone, hydromorphone, hydrocodeine,
  oxycodone, levorphanol, nalbuphine, butorphanol,
  dezocine, dihydrocodeine)
• Phenylpiperidines (meperidine, fentanyl,
  alfentanil, sufentanil)
• Phenylheptanones (methadone, propoxyphene)
      Case: 1:17-md-02804-DAP Doc #: 2251-87 Filed: 08/13/19 50 of 129. PageID #: 352016




                   Opioid Allergy
• Allergic reactions may cross-react within the
  same chemical class
• Less likely to react between structural
  classes
• Patients with “true” allergies can be
  switched with a product in one of the other
  classes.
       Case: 1:17-md-02804-DAP Doc #: 2251-87 Filed: 08/13/19 51 of 129. PageID #: 352017




Inhibitory Effects of Morphine
• Suppress pain                                     • Inhibit fluid and
• Drowsiness, sedation                                electrolyte accumulation
• Decreased respiration                               in the lumen of the
                                                      intestine
• Increased intracranial
  pressure                                          • Decrease gastric acid
                                                      secretion
• Suppress cough
                                                    • Slight decrease in temp
• Decrease peristalsis
                                                    • Decreased LH and FSH
        Case: 1:17-md-02804-DAP Doc #: 2251-87 Filed: 08/13/19 52 of 129. PageID #: 352018




  Stimulatory Effects of Morphine
• Euphoria                                         • Increase detrusor muscle
• Constriction of pupils                             tone
  (miosis)                                         • Increased prolactin and
• Stimulation of the                                 antidiuretic hormone
  chemoreceptor trigger                              release
  zone (CTZ)                                       • Proconvulsant in overdose
• Increase intestinal smooth
  muscle tone
  Side Effects of Morphine
     Case: 1:17-md-02804-DAP Doc #: 2251-87 Filed: 08/13/19 53 of 129. PageID #: 352019




     in Cancer Patients
Titration:                                         Maintenance:
• Nausea                                           • Constipation
• Vomiting                                         • Sedation
• Constipation                                     • Xerostomia
• Sedation                                         • Hallucinations
• Xerostomia                                       • Hyperalgesia, allodynia
• Sweating                                         • Myoclonus
• Pruritus                                         • Cognitive failure
• Respiratory depression                           • Respiratory depression
                                         Guillermo V, et al. Cancer Nurs 1998;21(4):289-297.
                                          Cherny N, et al. J Clin Onc 2001;19(9):2542-2554.
   Case: 1:17-md-02804-DAP Doc #: 2251-87 Filed: 08/13/19 54 of 129. PageID #: 352020




      Morphine Metabolism
• Glucuronized in the liver and intestinal
  mucosa
• Three different metabolites
  – Morphine-3-glucuronide (M-3-G)
  – Morphine-6-glucuronide (M-6-G)
  – Normorphine
     Case: 1:17-md-02804-DAP Doc #: 2251-87 Filed: 08/13/19 55 of 129. PageID #: 352021



    Morphine-6-Glucuronide
• Opioid binding agent with analgesic properties
• Higher affinity for the mu receptor than morphine
• Twice as potent as morphine when given
  systemically.
• One hundred times more potent when given
  intrathecally in animals.
• Accounts for a portion of morphine’s analgesic
  effect
    Case: 1:17-md-02804-DAP Doc #: 2251-87 Filed: 08/13/19 56 of 129. PageID #: 352022




   Morphine-6-Glucuronide
• With chronic dosing blood levels of M-6-G
  exceed morphine.
• Known to accumulate in renal failure
• May also accumulate in patients receiving
  codeine
• May be responsible for late opioid toxicity
• Develop progressive sedation, myosis, sweating
  and respiratory depression
    Case: 1:17-md-02804-DAP Doc #: 2251-87 Filed: 08/13/19 57 of 129. PageID #: 352023



    Morphine-3-Glucuronide &
          Normorphine
M-3-G:                                             Normorphine:
• Non-opioid binding                               • Capable of causing
  agent                                              significant central
• Ability to cause                                   hyperexcitability
  generalized
                                                   • May cause
  hyperexcitability,
  myoclonus and grand                                hallucinations
  mal seizures
     Case: 1:17-md-02804-DAP Doc #: 2251-87 Filed: 08/13/19 58 of 129. PageID #: 352024




Criteria for Drug Selection
•   Oral administration is preferred
•   Dosing interval (adherence issues)
•   Adverse effects
•   Potential drug interactions
•   Concomitant illnesses
  Case: 1:17-md-02804-DAP Doc #: 2251-87 Filed: 08/13/19 59 of 129. PageID #: 352025




Long-Acting Preparations
  •   Morphine (MS Contin)
  •   Oxycodone (OxyContin)
  •   Hydromorphone (Palladone)
  •   Fentanyl (Duragesic)
     Case: 1:17-md-02804-DAP Doc #: 2251-87 Filed: 08/13/19 60 of 129. PageID #: 352026




Morphine Controlled Release
MS Contin Tablets
• Purdue Frederick
• 15mg, 30mg, 60mg, 100mg & 200mg
• Initial dose 15-30mg q8-12 hours
• Extent of absorption same as conventional
  oral morphine.
      Case: 1:17-md-02804-DAP Doc #: 2251-87 Filed: 08/13/19 61 of 129. PageID #: 352027



 Morphine Controlled Release
MS Contin Tablets
• Only 40% of the administered dose reaches
  the central compartment
• Extent of absorption occurs, on average,
  after 1.5 hours, half-life 2-4 hours
• Fatty meal may cause a slight decrease in
  peak concentration
      Case: 1:17-md-02804-DAP Doc #: 2251-87 Filed: 08/13/19 62 of 129. PageID #: 352028



 Morphine Controlled Release
MS Contin Tablets
• Does not release morphine continuously
  over the course of a dosing interval
• Will result in higher peaks and lower trough
  plasma levels when dosed q12 hours
• Tablets are to be taken whole, not crushed or
  chewed
      Case: 1:17-md-02804-DAP Doc #: 2251-87 Filed: 08/13/19 63 of 129. PageID #: 352029



 Morphine Controlled Release
Oramorph SR Tablets
• Roxane Laboratories
• 15mg, 30,mg, 60mg & 100mg
• Initial dose 15-30mg q8-12 hours
• Extent of absorption same as conventional
  oral morphine.
      Case: 1:17-md-02804-DAP Doc #: 2251-87 Filed: 08/13/19 64 of 129. PageID #: 352030



 Morphine Controlled Release
Oramorph SR Tablets
• Only 40% of the administered dose reaches
  the central compartment
• 50% of absorption occurs, on average, after
  1.5 hours, time to peak 3.7 hours
• Half-life 2-4 hours
      Case: 1:17-md-02804-DAP Doc #: 2251-87 Filed: 08/13/19 65 of 129. PageID #: 352031



 Morphine Controlled Release
Oramorph SR Tablets
• Does not release morphine continuously
  over the course of a dosing interval
• 90% of dose is metabolized
• M-3-G (55-75%), M-6-G (1-5%)
• Tablets are to be taken whole, not crushed or
  chewed
      Case: 1:17-md-02804-DAP Doc #: 2251-87 Filed: 08/13/19 66 of 129. PageID #: 352032




 Morphine Sustained Release
Kadian Capsules
• Faulding Laboratories
• 20mg, 30mg, 50mg, 60mg, & 100mg
• Initial dose 20mg q12 hours or q24 hours
• Slower release than SR tablets
• Tmax: Single dose 8.6 hours, Multiple dose
  q24 hours 10.3 hours
      Case: 1:17-md-02804-DAP Doc #: 2251-87 Filed: 08/13/19 67 of 129. PageID #: 352033




  Morphine Sustained Release
Kadian Capsules
• 50% of absorption occurs, on average, after
  8 hours
• Food slows the rate of absorption but not the
  extent
• Contraindicated in patients with paralytic
  ileus
      Case: 1:17-md-02804-DAP Doc #: 2251-87 Filed: 08/13/19 68 of 129. PageID #: 352034




 Morphine Sustained Release
Kadian Capsules
• Increase dose no more than every other day
• Swallow capsules whole.
• Do not chew, crush or dissolve capsule
• May open capsule and sprinkle on apple
  sauce, room temperature or cooler
     Case: 1:17-md-02804-DAP Doc #: 2251-87 Filed: 08/13/19 69 of 129. PageID #: 352035



  Morphine Extended Release
Avinza Capsules
• Ligand Pharmaceuticals
• First agent for q24 dosing only
• 30mg, 60mg, 90mg & 120mg
• Contains both immediate-release and
  extended-release beads
• Designed to maintain morphine plasma levels
  throughout the day.
• Initial dose 30mg q24 hours
      Case: 1:17-md-02804-DAP Doc #: 2251-87 Filed: 08/13/19 70 of 129. PageID #: 352036



  Morphine Extended Release
Avinza Capsules
• Dose may be increased every 4 days
• Maximum daily dose 1600mg
• Capsules contain fumaric acid (FA) as an
  inactive ingredient.
• FA is an osmotic agent so fluid enters the
  bead to dissolve the drug
• The amount of FA in 1600mg is considered
  unsafe and may cause renal toxicity
      Case: 1:17-md-02804-DAP Doc #: 2251-87 Filed: 08/13/19 71 of 129. PageID #: 352037



  Morphine Extended Release
Avinza Capsules
• Morphine blood levels may persist for 36
  hours after discontinuation
• Less peak/trough fluctuations than SR
  tablets
• Swallow capsules whole.
• Do not chew, crush or dissolve capsule
• Capsules can be opened and sprinkled on
  apple sauce, room temperature or cooler
      Case: 1:17-md-02804-DAP Doc #: 2251-87 Filed: 08/13/19 72 of 129. PageID #: 352038


Oxycodone Controlled Release
OxyContin Tablets
• MISUSE, ABUSE & DIVERSION!
• Purdue Pharma L.P.
• 5mg, 10mg, 20mg, 40mg, 80mg & 160mg**
• Initial dose 10mg q12 hours
• Oral bioavailability 60-87%, low pre-
  systemic & first-pass metabolism
• Half life 4.5 hours, Tmax approximately 3
  hours
                                                                     **Voluntarily withdrawal 5/01
       Case: 1:17-md-02804-DAP Doc #: 2251-87 Filed: 08/13/19 73 of 129. PageID #: 352039



 Oxycodone Controlled Release
OxyContin Tablets
• Steady state levels in 24-36 hours
• Exhibits a biphasic absorption pattern with the
  initial release of oxycodone from the tablet
  followed by a prolonged release
• A high-fat meal can increase plasma
  concentrations by 25%
• Not indicated for rectal administration due to
  increased AUC and peak levels
       Case: 1:17-md-02804-DAP Doc #: 2251-87 Filed: 08/13/19 74 of 129. PageID #: 352040



Oxycodone Controlled Release
OxyContin Tablets
• Metabolized to noroxycodone, oxymorphone and
  their glucuronides
• Noroxycodone is a considerably weaker analgesic
  then oxycodone
• Oxymorphone possesses analgesic activity but is
  present in only low plasma concentrations
• Formation of oxymorphone is mediated by
  CYP2D6
      Case: 1:17-md-02804-DAP Doc #: 2251-87 Filed: 08/13/19 75 of 129. PageID #: 352041




Oxycodone Controlled Release
OxyContin Tablets
• Females have a 25% higher oxycodone
  plasma concentration than males when
  adjusted for weight
• Tablets are to be taken whole, not crushed or
  chewed
• Empty “ghost” tablets may appear in the
  stool
      Case: 1:17-md-02804-DAP Doc #: 2251-87 Filed: 08/13/19 76 of 129. PageID #: 352042


Hydromorphone Extended Release
Palladone Capsules
• Purdue Pharma L.P.
• 12mg, 16mg, 24mg & 32 mg capsules
• Formulated for once daily dosing
• Initial dose: equivalent opioid conversion
  and then titrate every 2-3 days
• Oral absorption: Biphasic (2,16 hrs –less
  fluctuation vs. q6 hr dosing)
• Half-life: 18.6 hrs Tmax: 2 hrs
       Case: 1:17-md-02804-DAP Doc #: 2251-87 Filed: 08/13/19 77 of 129. PageID #: 352043



Hydromorphone Extended Release
• Indicated for patients who:
  – are already receiving opioid therapy
  – have demonstrated opioid tolerance (x1 week)
     • 60 mg oral morphine/day
     • 30 mg oral oxycodone/day
     • 8 mg oral hydromorphone/day
     • Any other equianalgesic dose of another opioid
  – require a minimum total daily dose of 12 mg of
    oral hydromorphone or opioid equivalent.
      Case: 1:17-md-02804-DAP Doc #: 2251-87 Filed: 08/13/19 78 of 129. PageID #: 352044



Hydromorphone Extended Release
• Pellet formulation which uses a controlled
  release melt extrusion technology.
• Each pellet contains the same amount of
  hydromorphone with different capsule fill
  weights used to vary strengths.
• Do not break, chew or open capsules.
• Alcohol can lead to a rapid release and
  absorption of a potentially fatal
  hydromorphone dose
       Case: 1:17-md-02804-DAP Doc #: 2251-87 Filed: 08/13/19 79 of 129. PageID #: 352045


Hydromorphone Extended Release
• An FDA required patient medication guide
  must be dispensed to all patients. The drug is:
  – one for which patient labeling could help prevent
    serious adverse effects.
  – one that has serious risks of which patients should
    be made aware because information concerning
    risks could affect the patient’s decision to use or
    continue to use the drug.
  – important to health and patient adherence to
    directions for use is crucial to the drug’s
    effectiveness.
      Case: 1:17-md-02804-DAP Doc #: 2251-87 Filed: 08/13/19 80 of 129. PageID #: 352046



      Fentanyl Transdermal
Duragesic Patch
• Janssen Pharmaceuticals (Alza manufactures)
• 12.5 mcg/hr, 25mcg/hr, 50mcg/hr, 75mcg/hr
  & 100 mcg/hr
• Each patch lasts for 72 hours
• Initial dose 25mcg/hr patch q72 hours
• Small amount released with initial application
      Case: 1:17-md-02804-DAP Doc #: 2251-87 Filed: 08/13/19 81 of 129. PageID #: 352047



      Fentanyl Transdermal
Duragesic Patch
• The rate of delivery to the skin may vary
  across the 72 hour application time
• The labeled strength represents the average
  quantity of fentanyl delivered to the
  systemic circulation per hour
• Absorption is subject to intra as well as
  intraindividual variability
      Case: 1:17-md-02804-DAP Doc #: 2251-87 Filed: 08/13/19 82 of 129. PageID #: 352048



      Fentanyl Transdermal
Duragesic Patch
• Rate and extent of absorption may vary
  based on temperature, hydration and skin
  integrity
• 92% of the fentanyl in the patch is absorbed
  over 72 hours
• Some patients require q48 hour dosing
• Onset of action is very slow, 12-24 hours
      Case: 1:17-md-02804-DAP Doc #: 2251-87 Filed: 08/13/19 83 of 129. PageID #: 352049



      Fentanyl Transdermal
Duragesic Patch
• Peak serum levels generally occur between
  24-72 hours (approximately 36 hours)
• Primarily metabolized by CYP3A4
  – Be aware of CYP3A4 inducers and inhibitors
• Analgesic effect may last for several hours
  after patch is removed
• May use more than one patch based on pain
  control
       Case: 1:17-md-02804-DAP Doc #: 2251-87 Filed: 08/13/19 84 of 129. PageID #: 352050



       Fentanyl Transdermal
Sandoz’s Fentanyl Transdermal Patch
• Sandoz (Alza manufactures)
• Exactly the same as Duragesic, liquid
  reservoir.
• 25mcg/hr, 50mcg/hr, 75mcg/hr & 100 mcg/hr
• AB rated by FDA vs. Duragesic
• Patients have reported differences in analgesic
  efficacy and side effects.
       Case: 1:17-md-02804-DAP Doc #: 2251-87 Filed: 08/13/19 85 of 129. PageID #: 352051



        Fentanyl Transdermal
Mylan’s Fentanyl Transdermal Patch
• Mylan Pharmaceuticals
• 25mcg/hr, 50mcg/hr, 75mcg/hr & 100 mcg/hr
• AB rated by FDA vs. Duragesic
• Mylan’s patch is smaller
• Utilizes a solid matrix fentanyl-containing
  silicone adhesive that is sandwiched between
  backing film and protective liner.
      Case: 1:17-md-02804-DAP Doc #: 2251-87 Filed: 08/13/19 86 of 129. PageID #: 352052




Short-acting Preparations
  •    Morphine (MSIR)
  •    Hydromorphone (Dilaudid)
  •    Oxycodone (OxyIR, OxyFAST)
  •    Oxycodone & acetaminophen (Percocet)
  •    Hydrocodone (Vicodin, Lortab)
  •    Methadone
  •    Propoxyphene
  •    Tramadol (Ultram)
  •    Fentanyl (Actiq)
       Case: 1:17-md-02804-DAP Doc #: 2251-87 Filed: 08/13/19 87 of 129. PageID #: 352053




Breakthrough Pain Management
 •   Ideal agent should be absorbed quickly
 •   Rapid onset of analgesic effect
 •   Strong enough to relieve pain
 •   Short acting
 •   No pharmacologic rationale to support the
     administration of any fixed ratio of rescue
     drug to baseline medication
     Case: 1:17-md-02804-DAP Doc #: 2251-87 Filed: 08/13/19 88 of 129. PageID #: 352054



P-kinetic Characteristics of Opioids
 • The duration of analgesia of an opioid
   correlates partially with its:
   – Serum half-life
   – Dose
   – Route of administration
   – Distribution characteristics of the drug.
      Case: 1:17-md-02804-DAP Doc #: 2251-87 Filed: 08/13/19 89 of 129. PageID #: 352055



P-kinetic Characteristics of Opioids
• Methadone has a very long half-life of 24
  hours, buts its duration of analgesia is only
  about 6 hours.
  – However, single daily doses are retained on
    opiate receptors in the brain long enough to
    satisfy the craving for opiates in addicts.
  – When given epidurally its duration of analgesia
    is extremely short due to its high lipophilicity
    and rapid distribution from the epidural space.
           Case: 1:17-md-02804-DAP Doc #: 2251-87 Filed: 08/13/19 90 of 129. PageID #: 352056


       Morphine Oral Solution
 •   MSIR*, Roxanol** - 10mg/5mL
 •   MSIR, Roxanol - 20mg/5mL
 •   Roxanol UD 30mg/1.5mL
 •   MSIR, Roxanol, Roxanol T - 20mg/1mL
 •   Roxanol 100 - 100mg/5mL
     – Initial dose 10-30mg q4 hours

*Purdue Pharma
**Roxane
        Case: 1:17-md-02804-DAP Doc #: 2251-87 Filed: 08/13/19 91 of 129. PageID #: 352057




 Morphine Tablets/Capsules
  • MSIR* Tablets** 15mg, 30mg
  • MSIR Capsules** 15mg, 30mg
  • Morphine Soluble Tablets*** 10mg,
    15mg, 30mg
       – Initial dose 10-30mg q4 hours
*Purdue Pharma
**Various Generics: Roxane, Ethex
***Ranbaxy (for dilution & injection)
       Case: 1:17-md-02804-DAP Doc #: 2251-87 Filed: 08/13/19 92 of 129. PageID #: 352058




     Morphine Suppositories
 • RMS*, Various generic brands**
        • 5mg
        • 10mg
        • 20mg
        • 30mg
 • Initial dose 10-20mg q4 hours

*Upsher-Smith
**Paddock, Roxane
         Case: 1:17-md-02804-DAP Doc #: 2251-87 Filed: 08/13/19 93 of 129. PageID #: 352059



 Immediate Release Morphine
 •   Onset:              30 min, 30-45 min*
 •   Bioavailability:    40% (variable)
 •   Peak Effect:        60 min, 60-120 min**
 •   Active Metabolites: Yes
 •   Distribution:       Hydrophilic
 •   Duration:           4 hr, 4-6 hrs**
* AHFS 2005

** USPDI 2005
  Case: 1:17-md-02804-DAP Doc #: 2251-87 Filed: 08/13/19 94 of 129. PageID #: 352060


            Hydromorphone
Tablets
• Dilaudid* 1mg, 2 mg, 3mg, 4mg, 8mg
• Generic** 2mg, 4mg, 8mg
Oral Liquid
• Dilaudid-5*, generic** 5mg/5mL
Suppositories
• Dilaudid* 3mg
                                                            * Knoll
                                                            ** Roxane, Endo
   Case: 1:17-md-02804-DAP Doc #: 2251-87 Filed: 08/13/19 95 of 129. PageID #: 352061


             Hydromorphone
Tablets
• Initial dose 2mg q4-6 hours
Oral Liquid
• Initial dose 2.5mg q4-6 hours
Suppositories
• Initial dose 3mg q6-8 hours

                                                             * Knoll
                                                             ** Roxane, Endo
               Case: 1:17-md-02804-DAP Doc #: 2251-87 Filed: 08/13/19 96 of 129. PageID #: 352062



      Hydromorphone Oral/Rectal
•   Onset:              22 min, 30 min*,***, 15-30 min**
•   Bioavailability:    Well absorbed
•   Peak Effect:        44 min, 90-120 min***
•   Active Metabolites: No
•   Distribution:       Hydrophilic
•   Duration:           4-6 hrs, 4-5 hrs**, Rectal 6-8 hrs
    * Dilaudid Product Information
    ** AHFS 2005
    *** USPDI 2005
                        Oxycodone
        Case: 1:17-md-02804-DAP Doc #: 2251-87 Filed: 08/13/19 97 of 129. PageID #: 352063




5 mg Tablets
• M-Oxy*, Percolone**, Roxicodone***,
  Endocodone** , Various generics****
Tablets, immediate-release       * Mallinckrodt
                                 ** Endo

• Roxicodone*** 15mg, 30mg       *** Roxane
                                 **** Amide, Ethix, Watson

Capsules, immediate-release      ***** Purdue Pharma


• OxyIR*****, Oxycodone HCl**** 5 mg
      Case: 1:17-md-02804-DAP Doc #: 2251-87 Filed: 08/13/19 98 of 129. PageID #: 352064



                      Oxycodone
Oral Solution
• Roxicodone*** 5mg/5mL
Concentrated Oral Solution 20mg/mL
• Roxicodone Intensol***, Oxy dose****,
  OxyFAST*****
                                                                             *** Roxane
                                                                             **** Amide, Ethix, Watson
                                                                             ***** Purdue Pharma
 Case: 1:17-md-02804-DAP Doc #: 2251-87 Filed: 08/13/19 99 of 129. PageID #: 352065




                 Oxycodone
5 mg Tablets
• Dose 2-6 tablets q4-6 hours prn
Tablets, immediate-release
• Dose 15-30mg q4-6 hours prn
Capsules, immediate-release
• Dose 5mg q6 hours prn
                       Oxycodone
    Case: 1:17-md-02804-DAP Doc #: 2251-87 Filed: 08/13/19 100 of 129. PageID #: 352066




Oral Solution 5mg/5mL
• Dose 10mg-30mg q4-6 hours prn

Concentrated Oral Solution 20mg/mL
• Dose 10mg-30mg q4-6 hours prn
                           Oxycodone
        Case: 1:17-md-02804-DAP Doc #: 2251-87 Filed: 08/13/19 101 of 129. PageID #: 352067




•   Onset:                                          30 min, 10-15 min*
•   Bioavailability:                                60-87%
•   Peak Effect:                                    60 min, 30-60 min**
•   Active Metabolites:                             Noroxycodone,
                                                     oxymorphone
• Distribution:                                     Hydrophilic
• Duration:                                         4-6 hrs, 3-4 hrs**
                                                                                              * AHFS 2005
                                                                                              ** USPDI 2005
     Case: 1:17-md-02804-DAP Doc #: 2251-87 Filed: 08/13/19 102 of 129. PageID #: 352068


Oxycodone & Acetaminophen
Percocet Tablets (Endo)
• 2.5mg oxycodone /325 APAP
• 5/325
• 7.5/325, 7.5/500
• 10/325, 10/650

• Dose 1-2 tablets q4-6 prn
• Maximum of 4gm of APAP per 24 hours
     Case: 1:17-md-02804-DAP Doc #: 2251-87 Filed: 08/13/19 103 of 129. PageID #: 352069



      Oxycodone & Aspirin
Percodan Tablets (Endo)
• 4.5mg oxycodone HCl, 0.38mg oxycodone
  terephthalate, 325mg ASA
• 1 tablet q6 hrs prn
Percodan-Demi (Endo)
• 2.25mg oxycodone HCl, 0.19mg oxycodone
  terephthalate, 325mg ASA
• 1-2 tablets q6 hrs prn
Not to exceed 4 gm ASA daily
    Case: 1:17-md-02804-DAP Doc #: 2251-87 Filed: 08/13/19 104 of 129. PageID #: 352070



                         Methadone
Tablets 5mg, 10mg
  – Roxane, Mallinckrodt, Eli Lilly
Oral Solution 5mg/5mL, 10mg/5mL
  – Roxane
Oral Concentrate 10mg/1mL
  – Roxane, Mallinckrodt


Usual Dosage 5-10mg q6-8 hrs prn
        Case: 1:17-md-02804-DAP Doc #: 2251-87 Filed: 08/13/19 105 of 129. PageID #: 352071



                             Methadone
•   Onset:                                          30-60 min*
•   Bioavailability:                                80%** (41-99%)
•   Peak Effect:                                    90-120 min*
•   Active Metabolites:                             No
•   Distribution:                                   Lipophilic
•   Duration:                                       4-6 hrs*

                                    * USPDI 2005
                                    ** Mancini I, et al. Cur Opin Onc 2000;12:308-313
       Case: 1:17-md-02804-DAP Doc #: 2251-87 Filed: 08/13/19 106 of 129. PageID #: 352072



        Meperidine (Demerol)
Many drawbacks
• 3 hour duration of action • Avoid with seizure
• Higher risk of dependence   disorders
• More likely to cause      • Many drug interactions:
  seizures (Normeperidine)     – SSRIs
• Avoid in elderly             – MAOIs
                               – Triptans
• Avoid with impaired renal
                               – DHE
  function
      Case: 1:17-md-02804-DAP Doc #: 2251-87 Filed: 08/13/19 107 of 129. PageID #: 352073



 Hydrocodone & Acetaminophen
• Vicodin 5/500 (Knoll)
  – 1-2 tablets q4-6 hr prn (max 8 tabs/24hrs)
• Vicodin ES 7.5/750
  – 1 tablet q4-6 hr prn (max 5 tabs/24hrs)
• Vicodin HP 10/660
  – 1 tablet q4-6 hr prn (max 6 tabs/24hrs)
Vicoprofen 7.5/200 Hydrocodone & Ibuprofen
  – 1 tablet q4-6 hr prn
   Case: 1:17-md-02804-DAP Doc #: 2251-87 Filed: 08/13/19 108 of 129. PageID #: 352074



Hydrocodone & Acetaminophen
 • Lortab (UCB Pharma Inc.)
   – 2.5/500, 5/500, 7.5/500, 10/500
 • Lorcet HD (Forest Pharmaceuticals)
   – 5/500
 • Lorcet Plus
   – 7.5/650
 • Lorcet 10/650
        Case: 1:17-md-02804-DAP Doc #: 2251-87 Filed: 08/13/19 109 of 129. PageID #: 352075




    Hydrocodone & Acetaminophen
•   Ceta-Plus (Seatrace)                               •   Zydone (Endo)
•   Duocet (Mason)                                     •   Alor (Atley)
•   Hydrocet (Carnrick)                                •   Azdone (Central)
•   Hydrogesic (Edwards)                               •   Damason-P (Mason)
•   Anexsia (Mallinckrodt)                             •   Panasal (EC Robins)
•   Norco (Watson)
  Case: 1:17-md-02804-DAP Doc #: 2251-87 Filed: 08/13/19 110 of 129. PageID #: 352076




 Propoxyphene (Darvon)
• Weak analgesic
• Many preparations combined with a
  nonnarcotic (Darvocet)
• Potentially toxic metabolite
  (Norpropoxyphene)
• Avoid in the elderly
• May be cardiotoxic
        Case: 1:17-md-02804-DAP Doc #: 2251-87 Filed: 08/13/19 111 of 129. PageID #: 352077



              Tramadol (Ultram)
• Not recommended for cancer pain
• Dual mechanism of action
    – Mu receptor agonist
    – Serotonin and norepinephrine reuptake inhibitor
•   Ceiling effect
•   Max dose 400 mg per day
•   Risk of seizures with excessive doses
•   Drug interactions
     Case: 1:17-md-02804-DAP Doc #: 2251-87 Filed: 08/13/19 112 of 129. PageID #: 352078




                            Codeine
• Weak analgesic
• Doses over 65mg may produce decreased
  incremental analgesia
• More constipation and dysphoria then
  morphine
• Combined with ASA or APAP
• Four hour duration of action
• 10% metabolized to morphine
        Case: 1:17-md-02804-DAP Doc #: 2251-87 Filed: 08/13/19 113 of 129. PageID #: 352079




Fentanyl Transmucosal (Actiq)
•   Onset:                                           15 min, 5-10 min
•   Bioavailability:                                 50%
•   Peak Effect:                                     20 min, 22 min, 15 min
•   Active Metabolites:                              No
•   Distribution:                                    Lipophilic
•   Duration:                                        1-3 hrs, 2-5 hrs, 25-30 min
       Case: 1:17-md-02804-DAP Doc #: 2251-87 Filed: 08/13/19 114 of 129. PageID #: 352080




Common Adjunctive Agents
•   NSAIDs                                           •   Benzodiazepines
•   Steroids                                         •   Stimulants
•   Anticonvulsants                                  •   Phenothiazines
•   Antihistamines                                   •   Clonidine
•   Antidepressants                                  •   Bisphosphonates
     Case: 1:17-md-02804-DAP Doc #: 2251-87 Filed: 08/13/19 115 of 129. PageID #: 352081



                            NSAIDs
• Effective for the relief of mild to moderate
  pain
• Musculoskeletal pain
• Very effective for bony neoplastic
  metastasis
• Opioid sparing effects
• APAP has no antiinflammatory effects
                           NSAIDs
    Case: 1:17-md-02804-DAP Doc #: 2251-87 Filed: 08/13/19 116 of 129. PageID #: 352082




• When pain relief is not attained with one
  NSAID then another should be tried
• No NSAID has been shown to be superior to
  any other
• Do not use with thrombocytopenia
• Gastrointestinal side effects
• Renal effects
• Frequently overlooked in pain management
                        Steroids
Case: 1:17-md-02804-DAP Doc #: 2251-87 Filed: 08/13/19 117 of 129. PageID #: 352083




•   Provide a range of effects
•   Antiinflammatory
•   Antiemetic
•   Euphoric effects
•   Appetite stimulation
     Case: 1:17-md-02804-DAP Doc #: 2251-87 Filed: 08/13/19 118 of 129. PageID #: 352084



                             Steroids
• Reduce cerebral and spinal cord edema
• Important in the management of spinal cord
  compression or elevated intracranial
  pressure
• Dexamethasone 16mg/day or equivalent
• Dexamethasone 10mg PO q6h
• Adverse effects: gastrointestinal bleeding,
  Cushing’s syndrome, increased blood sugar.
     Case: 1:17-md-02804-DAP Doc #: 2251-87 Filed: 08/13/19 119 of 129. PageID #: 352085




                Anticonvulsants
• Used to manage neuropathic pain
  – Gabapentin (Neurontin) 2400-3600mg/day
  – Phenytoin (Dilantin) 300mg/day
  – Carbamazepine (Tegretol) 600-1600mg/day
  – Valproate (Depakene, Depakote) 750-
    2250mg/day
Case: 1:17-md-02804-DAP Doc #: 2251-87 Filed: 08/13/19 120 of 129. PageID #: 352086



          Antihistamines
• Hydroxyzine (Vistaril)
     – 25-50mg PO/IM q4-6 hrs prn
• Mild analgesic properties?
• Predominantly utilized for its
     – Antiemetic effects
     – Anxiolytic effects
     – Sedating effects
       Case: 1:17-md-02804-DAP Doc #: 2251-87 Filed: 08/13/19 121 of 129. PageID #: 352087




                Antidepressants
•   Useful for neuropathic pain
•   May potentiate opioid analgesia
•   Amitriptyline (Elavil) 30-300mg daily
•   Desipramine (Norpramin) 10-25mg qHS
•   Sedating
•   Anticholinergic side effects
      Case: 1:17-md-02804-DAP Doc #: 2251-87 Filed: 08/13/19 122 of 129. PageID #: 352088




            Benzodiazepines
•   Diazepam (Valium), lorazepam (Ativan)
•   Treatment of acute anxiety
•   Treatment of muscle spasm
•   Not effective analgesics
•   Respiratory depressant effects may limit
    opioid use
   Case: 1:17-md-02804-DAP Doc #: 2251-87 Filed: 08/13/19 123 of 129. PageID #: 352089




                      Stimulants
• May be useful in reducing opioid-
  induced sedation
• Methylphenidate (Ritalin) 5mg BID
• Dextroamphetamine (Dexedrine) 5mg
  BID
• Higher doses sometimes needed
     Case: 1:17-md-02804-DAP Doc #: 2251-87 Filed: 08/13/19 124 of 129. PageID #: 352090



                  Phenothiazines
• Pain complicated by delirium or nausea
• Fluphenazine (Prolixin)
  – 2mg PO q8 hrs
• Chlorpromazine (Thorazine)
  – 10-25mg PO/IM q4-6 hrs prn
• Prochlorperazine (Compazine)
  – 10mg PO/IM q6 hr prn
       Case: 1:17-md-02804-DAP Doc #: 2251-87 Filed: 08/13/19 125 of 129. PageID #: 352091




                 Bisphosphonates
•   Pamidronate (Aredia)
•   Alendronate (Fosamax)
•   Reduce bone pain
•   Hypercalcemia of malignancy (Aredia)
      Case: 1:17-md-02804-DAP Doc #: 2251-87 Filed: 08/13/19 126 of 129. PageID #: 352092




                           Clonidine
•   Clonidine (Catapres)
•   Alpha2 receptor agonist
•   Approved for use via epidural route
•   Hypotension and bradycardia
      Case: 1:17-md-02804-DAP Doc #: 2251-87 Filed: 08/13/19 127 of 129. PageID #: 352093


  Prialt (Ziconotide Intrathecal Inj.)
• FDA Approved 12/28/04
• NOT AN OPIATE (1st in a new class)
• Synthetic equivalent of a natural peptide
  found in the poisonous venom of the tiny
  cone snail (Conus magus)
• 1,000 times more effective in relieving
  pain than morphine without addictive
  potential
       Case: 1:17-md-02804-DAP Doc #: 2251-87 Filed: 08/13/19 128 of 129. PageID #: 352094


  Prialt (Ziconotide Intrathecal Inj.)
• Binds to N-type calcium channels located
  in the spinal cord.
• Blocks N-type calcium channels.
• These channels facilitate passage of
  electrical signals from one nerve to another
  and up the spinal cord to the brain.
• If the channel is blocked the pain signal
  does not reach the brain.
        Case: 1:17-md-02804-DAP Doc #: 2251-87 Filed: 08/13/19 129 of 129. PageID #: 352095


    Prialt (Ziconotide Intrathecal Inj.)
• Not available orally
• Used in patients refractory to opiates
• Needs IT infusion pump
• Psych symptoms and neuro impairment
  may occur during therapy
• Risk of infection due to IT route
• Must taper opiates because ziconotide
  does not interact with opiate receptors
